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12
                           UNITED STATES DISTRICT COURT
13
                           CENTRAL DISTRICT OF CALIFORNIA
14
15
     AMBER WALKER, individually and as                  Case No.: 8:21-cv-1280
16
     representative of the requested class,
17                                                      COMPLAINT - CLASS ACTION
                                      Plaintiffs,
18   V.                                                 Constitutional Violation Action
19                                                      (42 U.S.C. § 1983), Declaratory
     UNIVERSITY PROFESSIONAL AND
                                                        Judgment, Injunctive Relief,
20   TECHNICAL EMPLOYEES,
                                                        Compensatory and Nominal Damages.
     COMMUNICATIONS WORKERS OF
21
     AMERICA LOCAL 9119; MICHAEL V.
22   DRAKE, in his official capacity as
     President of the University of California.
23
                                    Defendants.
24
25
26
27
28
                                      COMPLAINT - CLASS ACTION

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 1                                      INTRODUCTION
 2
           In Janus v. AFSCME, Council 31, 13 8 S. Ct. 2448, 2486 (2018), the Supreme Court
 3
     held it violates the First Amendment for government employers and unions to take monies
 4
 5   for union speech from employees without their consent. California law, however, grants
 6
     unions broad discretion to determine and control whether government employers take
 7
     payments for union speech from employees' wages. Cal. Gov't Code § 1157.12. Here,
 8
 9   the University of California blindly defers to Defendant University Professional and
10
     Technical Employees union over whether the University deducts payments for UPTE from
11
     its employees' wages. Putting such a self-interested party in charge of making this
12
13   determination has led to its inevitable result: UPTE wrongfully denied a timely and valid
14
     demand by Plaintiff Amber Walker to stop University deductions of union dues from her
15
     wages based on a restriction that UPTE unilaterally made up.
16
17         The University deprives Walker and similarly situated employees of their liberty
18
     and property interests without due process of law by granting a self-interested and biased
19
     party, UPTE, control over whether the University takes monies for union speech from
20
21   employees' wages. The University and UPTE also deprive Walker and other employees
22
     of their First Amendment rights by seizing monies for union speech from them after they
23
     resigned their union membership and validly revoked their dues deduction authorizations.
24
25   Walker, on behalf of herself and a class of similarly situated employees, seeks declaratory
26   judgments, injunctive relief, and damages for Defendants' violations of rights guaranteed
27
     by the First and Fourteenth Amendments.
28
                                      COMPLAINT - CLASS ACTION

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 1                                 JURISDICTION AND VENUE
 2          1.   This Court has jurisdiction over this case under 28 U.S.C. § 1331, because it
 3
     arises under the United States Constitution, and under 28 U.S.C. § 1343, because Plaintiff
 4
 5   seeks reliefunder42 U.S.C. § 1983. This Court has the authority under 28 U.S.C. §§ 2201
 6
     and 2202 to grant declaratory relief and other relief based thereon.
 7
           2.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the claims
 8
 9   arise in this judicial district and Defendants operate and do business in this judicial district.
10
                                               PARTIES
11
           3. · Plaintiff Amber Walker resides and works in Orange County, California.
12
13         4.    Defendant      University      Professional      and     Technical      Employees,
14
     Communications Workers of America Local 9119 ("UPTE"), whose office is located at
15
     2855 Telegraph Avenue, Suite 310, Berkeley, CA 94705, is an employee organization.
16
17          5.   Defendant Michael V. Drake, who is sued in his official capacity as President
18
     of the University of California system, has an office located at 1111 Franklin St., 12th
19
     Floor, Oakland, CA 94607. The University of California is a public corporation
20
21   established by Article IX, section 9 of the California State Constitution that is governed
22 by the Board of Regents of the University of California. The President of the University
23
     exercises authority delegated by the Board, which includes acting as the executive head
24
25   of the University and administering the central functions of the University. Unless context
26
     dictates otherwise, the phrase "University" refers to the University of California acting by
27
     and through its President Michael V. Drake.
28
                                         COMPLAINT - CLASS ACTION

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 1         6.   The University of California, Irvine is part of the University and is located in
 2
     Orange County, California. UPTE exclusively represents employees at the University of
 3
     California, Irvine.
 4
 5                                FACTUAL ALLEGATIONS
 6
           7.   California law requires the University to deduct union dues or fees at the
 7
     behest of UPTE. Cal. Gov't Code § 1152.
 8
 9         8.   California Government Code § 1157.12(b) provides that certain public
10
     employers, which includes the University, shall:
11
           Direct employee requests to cancel or change deductions for employee
12
           organizations to the employee organization, rather than to the public employer. The
13         public employer shall rely on information provided by the employee organization
           regarding whether deductions for an employee organization were properly canceled
14
           or changed, and the employee organization shall indemnify the public employer for
15         any claims made by the employee for deductions made in reliance on that
           information. Deductions may be revoked only pursuant to the terms of the
16
           employee's written authorization.
17
           9.   As applied here, California Government Code § 1157.12(b) requires the
18
19   University to "[d]irect employee requests to cancel or change deductions" to UPTE and
20
     to "rely on information provided by [UTPE] . . . regarding whether deductions for an
21
     employee organization were properly canceled or changed."
22
23          10. The University, by and through its President, is a party to three collective
24   bargaining agreements with UPTE: (i) an agreement that governs a unit of research
25
     professionals effective from August 8, 2019 until October 31, 2024 ("RX Contract"); (ii)
26
27   an agreement that governs a unit of technical professionals effective from August 8, 2019
28
                                      COMPLAINT- CLASS ACTION

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 1   until October 31, 2024 {"TX Contract"); and, (iii) an agreement that governs a unit of
 2 healthcare professionals effective from August 8, 2019 until September 30, 2024 ("HX
 3
     Contract").
 4
 5         11. Article 28 of the RX and TX Contracts, and Article 7 of the HX Contract,
 6
     govern deductions of dues and fees for UPTE from University employees' wages and are
 7
     attached as Exhibit 1. The relevant sections of Article 28 of the RX and TX Contracts are
 8
 9   identical and are referred to as Article 28 of the RX/TX Contracts.
10
           12. Consistent with California Government Code § 1157. l 2{b) 's mandate that
11
     public employers must "[d]irect employee requests to cancel or change deductions for
12
13   employee organizations to the employee organization," the University and UPTE agreed
14
     "the University will direct employee questions or concerns, or requests to change or cancel
15
     deductions, to UPTE," RX/TX Contracts Art. 28(B)(l)(g), that "[t]he University shall
16
17   make every effort to redirect bargaining unit employees or non-unit voluntary members to
18
     UPTE regarding dues related inquiries," id. at Art. 28(A)(l)(d), and that "[t]he University
19
     shall redirect bargaining unit employees or non-unit voluntary members to UPTE
20
21   regarding dues related inquiries," HX Contract Art. 7(A)(l)(d).
22         13. Consistent with California Government Code § 115 7 .12(b)' s mandate that a
23
     "public employer shall rely on information provided by the employee organization
24
25   regarding whether deductions for an employee organization were properly canceled," the
26
     University and UPTE agreed "[t]he Union will certify to the University to begin
27
     deductions or to cease deductions," RX/TX Contracts Art. 28(B)(l)(a), HX Contract Art.
28
                                      COMPLAINT - CLASS ACTION

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 1   7(B)(l)(a), and that "[t]he Union will solely maintain the dues deduction authorization,
 2
     signed by the employee from whose salary or wages the deduction is to be made," RX/TX
 3
     Contracts Art. 28(B)(l)(e), HX Contract Art. 7(B)(l)(e).
 4
 5         14. On information and belief, the University requires that employee requests to
 6
     stop dues and fee deductions go through UPTE and grants UPTE control over whether the
 7
     University deducts monies for UPTE from employees' wages.
 8
 9         15. UPTE has a financial self-interest in having the University deduct monies
10
     for UPTE from University employees' wages, a self-interest in impeding employees'
11
     ability to stop those deductions, and a self-interest in denying employee requests to
12
13   stop dues or fee deductions.
14
           16. At all relevant times, Walker has worked as a Laboratory Assistant at
15
     University of California Irvine. Walker is subject to UPTE's exclusive representation and
16
17   to the terms of the RX Contract.
18
           17. On March 19, 2018, Walker signed a form that purports to authorize
19
     membership in UPTE and to authorize the University to deduct monies for UPTE from
20
21   her wages. See Exhibit 2. The form provides that employees who resign their UPTE
22 membership will have union "service fees" deducted from their wages unless they mail a
23
     revocation letter to UPTE during a designated 30-day revocation period.
24
25            If I resign or have resigned my union membership and the law no
              longer requires nonmembers to pay a fair share fee, I nevertheless
26
              agree voluntarily to contribute my fair share by paying a service fee
27            in an amount equal to dues. I direct UC to deduct this service free
              from my monthly pay and to transfer that money to UPTE. I
28
                                        COMPLAINT- CLASS ACTION

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 1            understand that this voluntary service fee authorization shall renew
              each year on the anniversary of the date I sign below, unless I mail
 2
              a signed revocation letter to UPTE' s central office, postmarked
 3            between 75 days and 45 days before such annual renewal date.
 4
           18. On information and belief, the dues deduction form(s) the University and
 5
     UPTE use and enforce as dues deduction authorizations in the bargaining units covered
 6
 7   by the RX, TX, and HX Contracts include a revocation restriction that is identical or
 8
     similar to the one quoted above.
 9
           19. On June 24, 2020, Walker sent an email to UPTE agent Juan Castillo with an
10
11   attached letter providing notice to UPTE that Walker resigned her union membership and
12
     did not consent to deductions of union dues or fees from her wages. See Exhibit 3. Castillo
13
     subsequently told Walker in a phone conversation that, to stop union dues deductions,
14
15   Walker had to mail a revocation letter to UPTE within a revocation period.
16
           20. In January 2021, within the revocation period stated in her dues deduction
17
     form, Walker mailed a letter to UPTE providing timely notice that she was a nonmember
18
19   and did not consent to deductions of union dues or fees from her wages.
20
           21. Walker validly revoked her dues deduction authorization pursuant to its terms
21
     by resubmitting her resignation and revocation notice to UPTE in January 2021. Under
22
23   the terms of her dues deduction form, University deductions of monies for UPTE from
24
     Walker's wages should have ceased by March 19, 2021.
25
           22. In an email dated March 30, 2021, UPTE informed Walker, in response to her
26
27   question about when dues deductions would stop, that:
28
                                        COMPLAINT - CLASS ACTION

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 1             We were not able to process your dues cancellation because the request
               you mailed was incomplete. You are no longer a member of the union, but
 2
               deductions will continue pursuant to the attached application you signed
 3             until we receive all the necessary documentation during your next
               cancellation window.
 4

 5             I've also attached the letter that I mailed you on 2/5/21 that provides all the
               details for what we will need to process your cancellation during your next
 6
               window.
 7
     See Exhibit 4. UPTE's attached letter, which Walker does not recall earlier receiving,
 8
 9 states that UPTE will not honor an employee's notice to revoke a dues deduction
10
     authorization unless that notice includes a "copy of photo identification (this could be a
11
     driver's license, state ID card, passport, employee ID badge)."
12
13         23. The dues deduction form does not state that an employee must provide proof
14
     of photo identification to revoke the authorization. Walker and other employees who
15
     signed that form did not consent to paying service fees unless and until they submit a
16
17   revocation letter that includes photo identification.
18
           24. On information and belief, UPTE created a photo-identification requirement
19
     for revoking dues deduction authorizations and enforces its restriction to deny timely and
20
21   valid requests by University employees to stop dues deductions.
22
           25. UPTE wrongfully denied Walker's demand to revoke her dues deduction
23
     authorization, which was timely and valid under the terms of that authorization, based on
24
25   its photo-identification requirement.
26
           26. Under California Government Code§ 1157.12(b) and Article 28 of the RX
27
     Contract, the University was required to defer to UPTE's determination that the
28
                                        COMPLAINT - CLASS ACTION

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 1   University should continue to deduct monies for UPTE from Walker's wages.
 2
           27. The University and UPTE seized union service fees from Walker's wages after
 3
     she resigned her union membership and validly revoked her dues deduction authorization
 4
 5   in January 2021. On information and belief, the University and UPTE will continue to
 6
     seize service fees from Walker's wages unless she provides a revocation notice that
 7
     includes a copy of photo identification during another revocation period, the next period
 8
 9   of which opens in January 2022.
10
           28. The University and UPTE are compelling Walker to subsidize UPTE and its
11
     speech without her consent and in violation of her First Amendment rights.
12
13         29. On information and belief, the University and UPTE have seized and will seize
14
     union service fees from employees who provided or provide notice to UPTE that they
15
     resign their union membership and object to dues deductions within the revocation period
16
17   prescribed in their dues deduction authorization forms when the employees' revocation
18
     notices do not include a copy of photo identification.
19
                               CLASS ACTION ALLEGATIONS
20
21         30. Walker brings this case as a class action for herself and others similarly
22
     situated. Walker seeks the certification of a "Class" of all University employees who, at
23
     any time after August 1, 2019: (i) provide or provided notice to UPTE that they resign or
24
25   their union membership; (ii) mail or mailed a revocation letter to UPTE within the
26   revocation period prescribed in their dues deduction authorization form; and, (iii) had or
27
     has monies for UPTE deducted from their wages by the University after UPTE denied the
28
                                       COMPLAINT- CLASS ACTION

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 1   employees' timely demand to revoke their dues deduction authorizations. For purposes of
 2
     the class definition, a revocation letter broadly includes any document in which a
 3
     University employee expresses a desire to withdraw from UPTE, stop payroll deductions,
 4
 5   or otherwise not financially support UPTE.
 6
           31. On information and belief, the Class is so numerous that joinder of Class
 7
     members is impractical because, as of April 2021, around 14,000 employees were subject
 8
 9   to RX, TX, and HX Contracts and employees can continually come within the Class
10
     definition during the course of this litigation.
11
           32. There are questions of law and fact common to all Class members. Factually,
12
13   all Class members had monies for UPTE's speech seized from their wages without their
14
     consent because UPTE refused to honor the employees' valid and timely notices to revoke
15
     their dues deduction authorizations and the University deferred to UPTE's determinations.
16
17   Whether this conduct violates the Class members' rights under the First and Fourteenth
18
     Amendments are questions common to all Class members.
19
           33. Walker's claims are typical of Class members' claims. Like Class members,
20
21   Walker had monies for UPTE' s speech seized from her wages without her consent because
22
     UPTE refused to honor her timely and valid notice to revoke her dues deduction
23
     authorization and the University deferred to UPTE's determination. Also like Class
24
25   members, this conduct (a) deprived Walker of her liberty and property interests without
26 due process of law in violation of the Fourteenth Amendment; and, (b) deprived Walker
27
     of her First Amendment right not to subsidize UPTE's speech.
28
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 1          34. Walker can fairly and adequately represent the interests of both classes and has
 2
     no conflict with other, similarly situated class members.
 3
           35. The Class can be maintained under Federal Rule of Civil Procedure
 4
 5   23(b)(1 )(A) because prosecution of separate actions by individual Class members would
 6
     create a risk of inconsistent adjudications that would establish incompatible standards of
 7
     conduct for Defendants with respect to whether (i) the University can grant UPTE control
 8
 9   over whether the University seizes monies for UPTE's speech from employees' wages
10
     and (ii) the University and UPTE can seize payments for union speech from employees
11
     after they resign their union membership and revoke their dues deduction authorizations
12
13   pursuant to their terms.
14
           36. The Class can be maintained under Federal Rule of Civil Procedure 23(b )(2)
15
     because Defendants have acted to deprive Walker and Class members of their
16
17   constitutional rights on grounds generally applicable to all, thereby making declaratory,
18
     injunctive, and other equitable relief appropriate with regard to the class as a whole.
19
           37. The Class can be maintained under Federal Rule of Civil Procedure 23(b)(3)
20
21   because questions of fact and law common to Class members predominate over any
22
     questions affecting only individual members. Factually, all Class members had monies for
23
     UPTE' s speech seized from their wages without their consent because UPTE refused to
24
25   honor the employees' valid and timely notices to revoke their dues deduction
26
     authorizations and the University deferred to UPTE' s determinations. Whether this
27
     conduct violates the Class members' rights under the First and Fourteenth Amendments
28

                                       COMPLAINT - CLASS ACTION

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 1   are questions common to all Class members. A class action is superior to other available
 2
     methods for the fair and efficient adjudication of the controversy because, among other
 3
     things, all Class members are subjected to the same or similar violations of their rights but
 4
 5   the amount of money involved in each individual's claim would make it burdensome for
 6
     class members to maintain separate actions. The amount of the monies wrongfully taken
 7
     from Walker and Class members is known to the defendants.
 8
 9                                    CAUSES OF ACTION

lO         38. Walker re-alleges and incorporates by reference the paragraphs set forth above
11
     in this Complaint.
12
13         39. The University and UPTE act under color of California law when deducting
14
     and collecting union dues and fees from Walker and Class members. See Cal. Gov't Code
15
     § 1152. The University and UPTE also act under color of California Government Code
16
17   § 1157 .12 when creating and enforcing their joint policies set forth in Article 28 of RX/TX
18
     Contracts and Article 7 of the HX Contract under which the University requires that
19
     employee requests to stop dues and fee deductions go through UPTE and the
20
21   University grants UPTE control over whether the University deducts monies for UPTE
22
     from employees' wages.
23
           40. UPTE is a state actor because it acts jointly with the University under
24
25   California Government Code §§ 1152 and 1157.12 and under the RX, TX, and HX
26
     Contracts to: (i) cause the University to deduct union dues and service fees from
27
     University employees' wages and remit those monies to UPTE; (ii) require that employee
28
                                       COMPLAINT - CLASS ACTION

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 1 requests to stop the University from deducting union dues and fees go through UPTE;
 2
     and, (iii) cause the University to grant UPTE control whether the University deducts
 3
     monies for UPTE from employees' wages.
 4
 5                                             COUNTI
 6
                           Deprivation of Liberty and Property Interests
 7                                 Without Due Process of Law
 8
           41. The Fourteenth Amendment states that "nor shall any state deprive any
 9
     person of life, liberty, or property, without due process of law."
10
11         42. Walker and Class members have a liberty interest under the First
12
     Amendment right in not subsidizing UPTE' s speech. Walker and Class members also
13
     have a property interest in retaining their money and earned wages.
14
15         43. The Universio/ deprives, or risks depriving, Walker and Class members of
16
     both identified liberty and property interests by seizing monies for UPTE and its
17
     speech from Walker and Class members' wages.
18
19         44. Under California Government Code § 1157.12(b) and the RX, TX, and HX
20
     Contracts, employee requests to stop the identified deprivations must go through UPTE
21
     and the University must defer to UPTE on whether to stop those deprivations.
22
23         45. UPTE has a self-interest in having the University deduct monies for UPTE
24
     from University employees' wages, a self-interest in impeding and frustrating
25
     employees' ability to stop those deductions, and a self-interest in denying employee
26
27   requests to stop those deductions.
28
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 1         46. Acting pursuant to its self-interests, UPTE created impediments for
 2
     revoking dues deduction authorizations not stated in those authorizations, such as
 3
     UPTE' s photo-identification requirement, and has refused to honor timely and valid
 4
 5   employee requests to revoke their dues deduction authorizations.
 6
           4 7. The University, by granting a biased and self-interested party (UPTE)
 7
     control over whether the University deducts monies for UPTE from employees' wages,
 8
 9   risks wrongfully depriving employees of their liberty and property interests by seizing
10
     monies for UPTE' s speech from employees who validly revoked their dues deduction
11
     authorizations under the terms of those authorizations.
12
13         48. The University, because it granted a biased and self-interested party
14
     (UPTE) control over whether the University deducts monies for UPTE from
15
     employees' wages, wrongfully deprived Walker and Class members of their liberty and
16
17   property interests by seizing monies for UPTE' s speech from Walker and Class
18
     members after they validly revoked their dues deduction authorizations under the
19
     terms of those authorizations.
20
21         49. The University deprives Walker and Class members of their liberty and
22 property interests without due process of law, in violation of the Fourteenth
23
     Amendment and 42 U.S.C. § 1983, by requiring that employee requests to stop dues
24
25   and fee deductions go through UPTE and by granting UPTE control whether the
26 University deducts monies for UPTE's speech from employees' wages.
27
           50. The University deprives Walker and Class members of their liberty and
28
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 1 property interests without due process of law, in violation of the Fourteenth
 2
     Amendment and 42 U.S.C. § 1983, by failing to provide Walker and Class members
 3
     with an impartial decision-maker for determining whether deductions of monies for
 4
 5 UPTE' s speech from their wages should continue or cease.
 6
           51. UPTE deprives Walker and Class members of their liberty and property
 7
     interests without due process of law, in violation of the Fourteenth Amendment and 42
 8
 9   U.S.C. § 1983, by abusing its authority to control whether the University deducts
10
     monies for UPTE's speech from employees' wages and by causing the University to
11
     seize monies for UPTE' s speech from Walker and Class members after they validly
12
13   revoked their dues deduction authorizations under the terms of those authorizations.
14
           52. California Government Code § 1157. l 2(b) is unconstitutional, on its face or
15
     as applied, because it requires certain public employers to deny due process of law to
16
17   employees when deducting monies for union speech from the wages of employees who
18
     object or may object to those deductions.
19
                                            COUNT II
20
21                          Deprivation of First Amendments Rights
22
           53. The Supreme Court in Janus v. AFSCME, Council 31, 138 S. Ct. 2448, 2486
23
     (2018) held it violates the First Amendment for the government to deduct, and for a union
24
25   to collect, any payments for union speech from employees without their consent.
26         54. The University deducted, and UPTE collected, payments for UPTE's speech
27
     from Walker and Class members after they resigned their union membership and validly
28
                                      COMPLAINT- CLASS ACTION

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 1 revoked their dues deduction authorizations under the terms of those authorizations. By
 2
     and through this conduct, the University and Board compelled and compel Walker and
 3
     Class members to subsidize to UPTE and its speech.
 4
 5         55. The University and UPTE, by seizing payments for UPTE's speech from
 6
     Walker and Class members without their consent, deprive Walker and Class members of
 7
     their First Amendment rights to free speech and association, in violation of the in violation
 8
 9   of the Fourteenth Amendment and 42 U.S.C. § 1983.
10
           56. Walker and Class members are suffering the irreparable harm and injury
11
     inherent in a violation of First Amendment rights, for which there is no adequate remedy
12
13   at law.
14
                                             COUNTIII
15
         California Government Code§ 1157.12(b) Violates the First Amendment
16
17         57. Government employers and unions subject to California Government Code
18
     § 1157.12 violate employees' First Amendment rights to free speech and association
19
     by seizing payments for union speech from employees who do not consent to paying
20
21   for that speech.
22         58. California Government Code § 1157.12(b) grants unions, such as UPTE,
23
     control over whether certain government employers, such as the University, seize
24
25   payments for union speech from employees.
26
27
28
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                                                  16
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 1         59. The University gave UPTE broad discretion to control whether the
 2
     University seizes payments for union speech from employees in Article 28 of the
 3
     RX/TX Contracts and Article 7 of the HX Contract.
 4
 5         60. UPTE and other unions subject to California Government Code§ 1157.12(b)
 6
     have a self-interest in impeding employees' ability to stop government deductions of
 7
     monies for union speech and a self-interest in denying employee requests to stop
 8
 9   government deductions of monies for union speech.
1
 O         61. Walker and Class members suffered injury as a result of the fact that
11
     California Government Code § 1157.12(b) and the RX, TX, and HX Contracts grant
12
13   UPTE control over whether the University seizes payments for UPTE' s speech from
14
     employees' wages under because UPTE abused that authority by causing the University
15
     to seize monies for union speech from Walker and Class members after they validly
16
17   revoked their dues deduction authorizations under the terms of those authorizations.
18
           62. The University, by giving UPTE control over whether the University seizes
19
     payments for union speech from Walker and Class members, deprives Walker and Class
20
21   members of their First Amendment rights to free speech and association, in violation of
22
     the Fourteenth Amendment and 42 U.S.C. § 1983.
23
           63. California Government Code § 1157.12(b) is_ unconstitutional under the
24
25   First Amendment because, by granting self-interested unions control over whether
26   government employers seize payments for union speech from employees, the statute
27
28
                                     COMPLAINT - CLASS ACTION

                                               17
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 1   creates an impermissible risk that nonconsenting employees will be compelled to
 2
     subsidize union speech in violation of their First Amendment rights.
 3
                                     PRAYER FOR RELIEF
 4
 5         Wherefore, Walker requests that this Court:
 6
           A.   Issue declaratory judgments that: (i) Defendants violate the Fourteenth
 7
     Amendment and 42 U.S.C. § 1983 by requiring that employee requests to stop dues and
 8
 9   fee deductions go through UPTE and by granting UPTE control over whether the
10
     University deduct monies for UPTE from employees' wages; (ii) Defendants violate
11
     the First Amendment and 42 U.S.C. § 1983 by seizing payments for union speech from
12
13   Walker and Class members without their consent; (ii) Defendants violate the First
14
     Amendment and 42 U.S.C. § 1983 by having UPTE control whether the University seizes
15
     payments for union speech from employees; (iii) that RX/TX Contracts Articles
16
17   28(A){l)(a), (B){l){e), and B(l)(g) and HX Contract Articles 7(A)(l){d), 7(B)(l){a), and
18
     7(B)(l)(D) are unconstitutional under the First and Fourteenth Amendments; and, (iv)
19
     that California Government Code § ll 57.l 2(b) is unconstitutional, on its face or as
20
21   applied, under the First and Fourteenth Amendments.
22
           B.   Permanently enjoin Defendants, along with their officers, agents, servants,
23
     employees, attorneys, and any other person or entity in active concert or participation with
24
25   them, from: (i) requiring that employee requests to stop union dues and fee deductions
26
     go through UPTE; (ii) having UPTE control whether the University seizes payments for
27
     union speech from employees' wages; (iii) seizing payments for union speech from
28
                                       COMPLAINT - CLASS ACTION

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 1 Walker and Class members; and, (iv) enforcing RX/TX Contract Articles 28(A)(l)(a),
 2 (B)(l){e), and B{l)(g) and HX Contract Articles 7(A)(l)(d), 7(B)(l)(a), and 7(B){l)(D).
 3
           C.   Award Walker and Class members compensatory damages, or alternatively
 4
 5 nominal damages.
 6
           D. Award Plaintiff Walker and all class members their costs and reasonable
 7
     attorneys' fees pursuant to the Civil Rights Attorneys' Fees Award Act of 1976, 42 U.S.C.
 8
 9   § 1988.
10
           E.   Grant other and additional relief as the Court may deem just and proper.
11
     RESPECTFULLY SUBMITTED.
12
13
     Dated: July 29, 2021                  SMITH & MYERS LLP
14
15                                         By Isl Thomas Myers
                                              Thomas Myers
16
17                                         William L. Messenger
                                           (Pro Hae Vice to be filed)
18
                                           Angel J. Valencia
19                                         (Pro Hae Vice to be filed)
20                                         Attorneys for Plaintiff Amber Walker and the
21                                         Class She Seeks to Represent
22
23
24
25
26
27
28
                                      COMPLAINT- CLASS ACTION

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                            EXHIBIT 1
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                                     ARTICLE 28
                                 PAYROLL DEDUCTIONS

A. DEDUCTIONS

  1. General Conditions

     a. UPTE has the exclusive right of dues deductions authorized under Government Code
        section 1152 for all employees in the RX unit.

     b. UPTE shall establish its dues amount and shall certify its amount to the University.
        The University shall deduct from the members retirement gross earnings the amount
        certified by UPTE.

     c. The University shall remit deductions to UPTE on a monthly basis.

     d. The University shall make every effort to redirect bargaining unit employees or non-
        unit voluntary members to UPTE regarding dues related inquiries.

  2. Dues Amount Change

     a. The Union may change the certified dues amount once in a twelve-month period
        without cost to UPTE. Any annual changes in the amount to be deducted for union
        dues shall be certified to the University, in writing , at least thirty (30) calendar days
        prior to the effective date of the dues amount change.

     b. All costs associated with accomplishing additional changes in the dues amount
        (machine, programming, etc.) shall be paid by the Union at the same rates that apply
        to other employee organizations described in the University Accou nting Manual. The
        University shall provide the Union with estimated costs and an estimated time of
        completion and the Union shall pay the agreed-upon costs before the University
        makes the change.

B. ELECTRONIC TRANSMISSION OF DEDUCTION INFORMATION

  1. Certification and Maintenance of Deduction Information

     a. The Union will certify to the University to begin deductions or to cease deductions. For
        bargaining unit members, deductions shall be from in unit earnings based on
        retirement gross earnings.

     b. UPTE will either deliver an electronic file in Excel (*.xis) format to the University's
        campus appropriate office or upload files to the FTP website, in accordance with
        Section 2 below. The University shall provide notice of the changes to the
        administrative process at least thirty (30) calendar days in advance of the cha nge


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     c. For employees who are paid monthly, the dues file shall be transmitted electronically
        no later than the 15th of each month or four (4) calendar days prior to the pay confirm
        date for the month, whichever occurs first. For employees who are paid bi-weekly, the
        dues file shall be transmitted no later than the Friday before the end of the pay period .

     d. The University agrees the changes will be made in time to affect the next payroll with
        a pay begin date that falls on or after the date the deduction certification is received .

     e. The Union will solely maintain the dues deduction authorization , signed by the
        employee from whose salary or wages the deduction is to be made.

     f. If an employee is separated from the University or transferred out of the RX unit and
        is still employed by the University in an non-unit title code, or if the employee holds
        appointments in a RX covered title code and a non-unit title code simultaneously, the
        University shall not deduct dues from the non-unit earnings unless explicitly authorized
        by the Union to do so as a non-unit voluntary member.

     g. The University will direct employee questions or concerns , or requests to change or
        cancel deductions, to UPTE.

  2. UPTE list to be submitted in the format provided in Appendix Hand shall include:

     a. Location/Business Unit Code

     b. Campus Name

     c. Bargaining Unit or unrepresented

     d. Employee Identification Number

     e. Employee Name (Last, First)

     f. Action Codes: "A"   =Add; "C" = Change; "S" = Stop
     g. Deduction Codes: "D"    =Dues; UD =Non-Unit Voluntary Member Dues
C. FEES FOR PROVIDING PAYROLL DEDUCTIONS

  1. The University shall charge UPTE $.07 per employee for calculation and reporting and
     $10.00 for each monthly union payroll deduction remittance. Such charges shall be
     deducted from the total check remittance .

  2. For the purpose of voluntary deductions for the Union, COPE fees charged to the Union
     shall not exceed the actual costs incurred by the University to establish such deductions.



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D. INFORMATION TO ACCOMPANY REMITTANCE

  The University shall submit a monthly standard earnings (based on retirement gross where
  applicable) and deduction report which shall contain , by campus, an alphabetical list of all
  employees in the bargaining unit and non-unit voluntary members on dues deduction status.
  The report shall include the employee identification number, employee name, amount
  withheld , and earnings that are the basis for the deduction. The report shall be provided
  electronically via the FTP site. Any costs associated with union-requested changes in the
  deduction report referenced above shall be fully paid by the Union .

E. CORRECTION OF ERRORS

  1. If the University's error resulted in deductions less than the correct amount, the University
     shall make the additional required deductions from the effected employee(s) subsequent
     earnings to make up the difference between the actual and correct amounts in
     accordance with current payroll policy regarding additional deductions. However,
     additional deductions from the employee(s)'s subsequent earnings shall not exceed two
     times the normal dues amount in any given pay period.

  2. If the error results in payment of more than the correct amount and the Union has received
     the funds, the Union shall reimburse the employees accordingly.

  3. If the parties cannot agree on the amount of the appropriate deduction only the union may
     file a grievance concerning the same.

  4. The University shall include a communication to the employee if deducting supplemental
     dues in excess of the normal contributions in accordance with E.1 above with concurrent
     notice to UPTE.

F. INDEMNIFICATION

  The Union specifically agrees that the University shall assume no obligation other than that
  specified in this article, or any financial liability, including the payment of any retroactive dues
  arising out of the provisions of this article. Further, the Union agrees that it will reimburse the
  University for any reasonable costs and indemnify and hold the University, including its
  agents and affiliates, harmless from any claims , actions, or proceedings by any person or
  entity arising from any deductions made in accordance with this article. Reasonable costs
  shall include all fees and costs associated with defending the claim and retaining separate
  and independent outside counsel , including but not limited to separate outside counsel's
  attorney's fees and costs.




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                                     ARTICLE 28
                                 PAYROLL DEDUCTIONS

A. DEDUCTIONS

  1. General Conditions

     a. UPTE has the exclusive right of dues deductions authorized under Government Code
        section 1152 for all employees in the TX unit.

     b. UPTE shall establish its dues amount and shall certify its amount to the University.
        The University shall deduct from the members retirement gross earnings the amount
        certified by UPTE.

     c. The University shall remit deductions to UPTE on a monthly basis.

     d. The University shall make every effort to redirect bargaining unit employees or non-
        unit voluntary members to UPTE regarding dues related inquiries.

  2. Dues Amount Change

     a. The Union may change the certified dues amount once in a twelve-month period
        without cost to UPTE. Any annual changes in the amount to be deducted for union
        dues shall be certified to the University, in writing, at least thirty (30) calendar days
        prior to the effective date of the dues amount change.

     b. All costs associated with accomplishing additional changes in the dues amount
        (machine, programming, etc.) shall be paid by the Union at the same rates that apply
        to other employee organizations described in the University Accounting Manual. The
        University shall provide the Union with estimated costs and an estimated time of
        completion and the Union shall pay the agreed-upon costs before the University
        makes the change.

B. ELECTRONIC TRANSMISSION OF DEDUCTION INFORMATION

  1. Certification and Maintenance of Deduction Information

     a. The Union will certify to the University to begin deductions or to cease deductions. For
        bargaining unit members, deductions shall be from in unit earnings based on
        retirement gross earnings.

     b. UPTE will either deliver an electronic file in Excel (*.xis) format to the University's
        campus appropriate office or upload files to the FTP website, in accordance with
        Section 2 below. The University shall provide notice of the changes to the
        administrative process at least thirty (30) calendar days in advance of the change.


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     c. For employees who are paid monthly, the dues file shall be transmitted electronically
        no later than the 15th of each month or four (4) calendar days prior to the pay confi rm
        date for the month, whichever occurs first. For employees who are paid bi-weekly, the
        dues file shall be transmitted no later than the Friday before the end of the pay period .

     d. The University agrees the changes will be made in time to affect the next payroll with
        a pay begin date that falls on or after the date the deduction certification is received.

     e. The Union will solely maintain the dues deduction authorization, signed by the
        employee from whose salary or wages the deduction is to be made.

     f.   If an employee is separated from the University or transferred out of the TX unit and
          is still employed by the University in an non-unit title code , or if the employee holds
          appointments in a TX covered title code and a non-unit title code simultaneously, the
          University shall not deduct dues from the non-unit earnings unless explicitly authorized
          by the Union to do so as a non-unit voluntary member.

     g. The University will direct employee questions or concerns, or requests to change or
        cancel deductions, to UPTE.

  2. UPTE list to be submitted in the format provided in Appendix Hand shall include:

     a. Location/Business Unit Code

     b. Campus Name

     c. Bargaining Unit or unrepresented

     d. Employee Identification Number

     e. Employee Name (Last, First)

     f. Action Codes: "A" = Add ; "C" = Change; "S" = Stop

     g. Deduction Codes: "D" = Dues; UD = Non-Unit Voluntary Member Dues

C. FEES FOR PROVIDING PAYROLL DEDUCTIONS

  1. The University shall charge UPTE $.07 per employee for calculation and reporting and
     $10.00 for each monthly union payroll deduction remittance. Such charges shall be
     deducted from the total check remittance.

  2. For the purpose of voluntary deductions for the Union, COPE fees charged to the Union
     shall not exceed the actual costs incurred by the University to establish such deductions.



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D. INFORMATION TO ACCOMPANY REMITTANCE

  The University shall submit a monthly standard earnings (based on retirement gross where
  applicable) and deduction report which shall contain , by campus, an alphabetical list of all
  employees in the bargaining unit and non-unit voluntary members on dues deduction status.
  The report shall include the employee identification number, employee name, amount
  withheld, and earnings that are the basis for the deduction. The report shall be provided
  electronically via the FTP site. Any costs associated with union-requested changes in the
  deduction report referenced above shall be fully paid by the Union.

E. CORRECTION OF ERRORS

  1. If the University's error resulted in deductions less than the correct amount, the University
     shall make the additional required deductions from the effected employee (s) subsequent
     earnings to make up the difference between the actual and correct amounts in
     accordance with current payroll policy regarding additional deductions. However,
     additional deductions from the employee(s)'s subsequent earnings shall not exceed two
     times the normal dues amount in any given pay period.

  2. If the error results in payment of more than the correct amount and the Union has received
     the funds, the Union shall reimburse the employees accordingly.

  3. If the parties cannot agree on the amount of the appropriate deduction only the union may
     file a grievance concerning the same.

  4. The University shall include a communication to the employee if deducting supplemental
     dues in excess of the normal contributions in accordance with E.1 above with concurrent
     notice to UPTE.

F. INDEMNIFICATION

  The Union specifically agrees that the University shall assume no obligation other than that
  specified in this article, or any financial liability, including the payment of any retroactive dues
  arising out of the provisions of this article. Further, the Union agrees that it will reimburse the
  University for any reasonable costs and indemnify and hold the University, including its
  agents and affiliates, harmless from any claims, actions, or proceed ings by any person or
  entity arising from any deductions made in accordance with this article. Reasonable costs
  shall include all fees and costs associated with defending the cla im and reta ining separate
  and independent outside counsel , including but not limited to separate outside counsel's
  attorney's fees and costs.




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                                  ARTICLE 7
                          UNION PAYROLL DEDUCTIONS

A.    DEDUCTIONS

     1.   General Conditions

           a.     UPTE-CWA has the exclusive right of dues deductions authorized under
                  Government Code section 1152 for all employees in the HX unit.

           b.     UPTE-CWA shall establish its dues amount and shall certify its amount to
                  the University in writing The University shall deduct from the members'
                  retirement gross earnings the amount UPTE has certified in writing .

           c.     The University shall remit deductions to UPTE on a monthly basis .

           d.     The University shall redirect bargaining unit employees or non-unit
                  voluntary members to UPTE regarding dues related inquiries.

     2.   Dues Amount Change

           a.     UPTE may change the amounts to be deducted from unit employees' pay
                  once per calendar year without cost to UPTE. Any annual changes in the
                  amounts to be deducted for UPTE dues shall be certified to the
                  University, in writing , at least forty-five (45) calendar days prior to the
                  effective date of such change.

           b.     All costs associated with accomplishing additional changes in the dues
                  amount or structure (machine, programming , etc.) shall be paid by the
                  Union at the same rates that apply to other employee organizations
                  described in the University Accounting Manual. The University shall
                  provide the Union with estimated costs and an estimated time of
                  completion and the Union shall pay the agreed-upon costs before the
                  University makes the change.

B.   ELECTRONIC TRANSMISSION OF DEDUCTION INFORMATION

     1.    Certification and Maintenance of Deduction Information

           a.     The Union will certify to the University to begin deductions or to cease
                  deductions. For bargaining unit members, deductions shall be from in unit
                  earnings based on retirement gross earnings.

           b.     UPTE will either deliver an electronic file in Excel (* .xis) format to the
                  University's campus{medical center/laboratory appropriate office or
                  upload files to the FTP website, in accordance with Section 2 below. The
                  University shall provide notice of the changes to the administrative
                  process at least thirty (30) calendar days in advance of the change.

           c.     For employees who are paid monthly, the union payroll deduction file
                  shall be transmitted electronically no later than the 15thof each month. For
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                 employees who are paid bi-weekly, the union payroll deduction file shall
                 be transmitted no later than the Friday before the end of the pay period. If
                 the referenced 151h of the month or Friday before the end of the pay
                 period falls on a holiday or weekend, the file shall be transmitted the
                 business day prior to the holiday or weekend.

          d.     The University agrees the changes will be made in time to affect the next
                 payroll with a pay begin date that falls on or after the date the deduction
                 certification is received .

          e.     The Union will solely maintain the union payroll deduction authorization ,
                 signed by the employee from whose salary or wages the deduction is to
                 be made.

          f.     If an employee is separated from the University or transferred out of the
                 HX unit and is still employed by the University, the University shall stop
                 the union payroll deductions.

     2.   UPTE list to be submitted in the format provided in Appendix K and shall incl ude:

          a.     Location/Business Unit Code

          b.     Campus or Medical Center Name

          c.     Bargaining Unit or unrepresented

          d.     Employee Identification Number

          e.     Employee Name (Last, First)

          f.     Action Codes : "A" = Add ; "C" = Change; "S" = Stop

          g.     Deduction Codes: "D" = Dues; UD = Unrepresented Dues; PA= Political
                 Action

          h.     Ongoing Deduction Dollar Amount for Political Action (Must be dues
                 paying member in bargaining unit.)

C.   FEES FOR PROVIDING PAYROLL DEDUCTIONS

     1.   The University shall charge UPTE $.07 per employee for calculation and
          reporting and $10.00 for each monthly union payroll deduction remittance. Such
          charges shall be deducted from the total check remittance. A remittance report
          shall be provided to UPTE reconciling the union payroll deductions and the
          deducted administrative service fees.

     2.   For the purpose of voluntary deductions for the Union, unrepresented dues and
          the Political Action Fund (PAF) , fees charged to the Union shall not exceed the
          actual costs incurred by the University to establish such deductions.




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D.    INFORMATION TO ACCOMPANY REMITTANCE MONTHLY UNION PAYROLL
      DEDUCTIONS AND EARNINGS REPORTS

     The University shall submit a monthly standard earnings (based on retirement gross
     where applicable) and deduction report which shall contain , by UC location, a list of all
     employees in the bargaining unit and non-unit voluntary members on dues deduction
     status. The report shall include the employee identification number, employee name,
     amount withheld , and earnings that are the basis for the deduction. The report shall be
     provided electronically via the FTP site. Any costs associated with union-requested
     changes in the deduction report referenced above shall be fully paid by the Union.

E.   CORRECTION OF ERRORS

     1.     If the University's error resulted in deductions less than the correct amount, the
            University shall make the additional required deductions from the affected
            employee(s) subsequent earnings to make up the difference between the actual
            and correct amounts in accordance with current payroll policy regarding
            additional deductions. However, additional deductions from the employee(s)
            subsequent earnings shall not exceed two times the normal dues amount in any
            given pay period.

     2.     If the error results in payment of more than the correct amount and the Union has
            received the funds , the Union shall reimburse the employees accordingly.

     3.     If the parties cannot agree on the amount of the appropriate deduction only the
            Union may file a grievance concerning the same.

     4.     The University shall include a communication to the employee if deducting
            supplemental dues in excess of the normal contributions in accordance with E.1.
            above with concurrent notice to UPTE.

F.   INDEMNIFICATION

     The Union shall indemnify the University for any claims made by the represented
     members for deductions made by the University in reliance on the Union 's certification or
     on the Union's representation as to whether deductions for the Union were properly
     canceled or changed. The University shall promptly provide notice to the Union of any
     claim, demand, suit or other action for which it is seeking indemnification.




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                            EXHIBIT2
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 UPTE STRONG! Affirm your commitment to outstanding UC jobs.
 UPTE-CWA members have won excellent raises and preserved superb benefits and pensions.
 But now UC executives and anti-union politicians are seeking to erode our pay and benefits.
 All current and not-yet-members of UPTE need to sign th is membership affirmation to preserve
 our achievements.
                                                                                                                                                                  m
                                                                                                                                                                  CWA 9119
                                                                                                                                                                  A FL • CIO


 Your position at UC is covered by an UPTE-CWA union contract. The contract determines your pay, benefits, and
 working conditions. Dues are the same for everyone and set uniformly by UPTE.

    CAMPUS
    0 Berkeley                0 Santa Cruz      0 San Francisco                          0 Davis               O Santa Barbara                       QMerced
    O LBN L                   OUCOP             ORiverside                               @ Irvine              0 Los Angeles                         OSan Diego

       Amber Wa lker
      NAME



      HOME ADDRESS

        Norwalk, CA 90650                                                                           Hewit t Hall
      CITY/STATE/ZIP

        Ju an Casti llo
      NAME OF PERSON WHO ASKED ME TO JOIN (if applicable)




   MEMBERSHIP APPLICATION
  Authorization: I apply to become a member of UPTE. I enter into this agreement in return for the privileges of UPTE membership and the
  long-term benefit of union representation. I direct UC to deduct membership dues from my monthly pay, and to transfer that money to UPTE.
  I can end my membership by following instructions in my union contract (found at www.upte-cwa.org), or as otherwise allowed by law. I un-
  derstand that both union members and nonmembers benefit from representation and should contribute. If I resign or have resigned my union
  membership and the law no longer requires nonmembers to pay a fair share fee, I nevertheless agree voluntarily to contribute my fair sha re
  by paying a service fee in an amount equal to dues. I direct UC to deduct this service fee from my monthly pay and to transfer that money to
  UPTE. I understand that this voluntary service fee authorization shall renew each year on the anniversary of the date I sign below, unless I
  mail a signed revocation letter to UPTE's central office, postmarked between 75 days and 45 days before such annual renewal date.


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                                                                                                                    DATE




   POLITICAL ACTION FUND (PAF) AUTHORIZATION
  Authorization: As public employees, we require a strong voice and resources to impact the government that funds us and passes
  laws that affect us. We do not use union dues or fees for elections. Instead, we need contributions from members like you to protect and
  improve our jobs and working conditions. Any contribution you make is voluntary and will go to the Communications Workers of America-
  COPE Political Contributions Committee for the purpose of making contribution in federal elections to protect and advance the interests of
  working people, including UPTE members and their families. Your contribution is separate from your union dues and is not a condition of
  membership. No favor or disadvantage will result from contributing or refusing to do so, and you are free to contribute more or less than the
  suggested amounts. Additionally, to comply with federal law, we must use our best efforts to collect and report the name, mailing address,
  occupation and name of employer for individuals whose contributions exceed $200 per election cycle. Contributions or gifts to the CWA-
  COPE PCC are not tax deductible as charitable contributions.
  Yes,          I want to contribute the following amount to CWA's PAF: Q$10 per monthQ$20 per monthQ $40 per monthQ$_                                            per month
                                                                        @ I don't want to contribute to PAF at this time.




                                                                          For university use only
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                            EXHIBIT3




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Bill Messenger

From:                              Amber Walker <amberdw@uci.edu>
Sent:                              Monday, April 5, 2021 3:40 PM
To:                                Rebecca Whalen
Subject:                           FW: Leaving The Union
Attachments:                       OptOut_AmberWalker.pdf

Follow Up Flag:                     Follow up
Flag Status:                        Flagged



I sent this back in June 2020 and was only told that it needed to be ma iled in.


From : Amber Walker
Sent: Wednesday, June 24, 2020 1:15 PM
To: jcastillo@upte-cwa .org
Subject : Leaving The Union



Hello Juan,

I am at taching a letter for my separation with the union . I talked to anot her representative yesterday and she said I
should be hearing from you soon about leaving the union. Would you need this letter to be mailed to you or does an
emailed version suffice? I emailed a union rep about a year ago with my concerns about not receiving my first pa yment
increase per our newly signed contract . My increase was essentially taken away beca use instead of comparing my salary
with th e pay increase, they compared my past sa lary. So essentially, I took a pay cut by switching departments. I
emailed, called and left messages and I still haven't received a call back regarding the sit uation to this day. But to my
surprise, it wasn't unti l I told HR that I wanted to part w ith the union did I receive a call from a union representative. In
my opinion this should never happen and it seems it's just too little too late. I don' t pay dues EVERY paycheck j ust to be
ignored . Please know if t here is anyth ing I can do to help exped ite the process.

Thank you,



Amber Walker, 8.5., RLAT

Laboratory Techni cian II

Transgenic Mouse Facility (TMF)
UC Irvi ne
Biologica l Sciences Ill
Irvi ne, CA 92697

amberdw@uci.edu
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UPTE-CWA Local 9119
POB0x4443
Berkely, CA 94704

UPTE-CWA President:

Effective immediately, I resign membership in all levels of University Professional and Technical
Employees (UVi'E) an affiliate of Communication Workers of America (CWA) Local 9119.

I do not consent to any payment or withholding of dues, fees, or political contributions to the union or its
affiliates. If you believe I have given consent in the past, that consent is revoked, effective immediately.

The right to be free from forced union payments is guaranteed under the First Amendment of the Federal
Constitution as recognized by Janus v. AFSCME. I insist that you immediately cease deducting any and all
union dues or fees from my paycheck or account, as is my constitutional right. This notification is
permanent and continuing in nature, until I sign indicating otherwise.

Further exaction of union dues or fees against my will violates my constitutional rights. If you refuse to
process such cessation of payment, I request that you:

    • provide me with a copy of any dues deduction authorization - written, electronic, or oral - the
      union has on file for me; and
    • inform me, in writing, of exactly what steps I must take to effectuate my constitutional rights and
      stop the deduction of dues/fees.
I understand that UPTE-CWA has arranged to be the sole provider of workplace representation services
for all employees in my bargaining unit. I understand further that, in exchange for the privilege of acting
as the exclusive bargaining representative, UPTE-CWA must continue to represent me fairly and without
discrimination in dealings with my employer and cannot, under any circumstances, deny me any wages,
benefits, or protections provided under the collective bargaining agreement with my employer.

Please reply promptly to my request.

Amber Walker




UC hvine
Laboratory Assistant 2
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                                          EXHIBIT4




..   -    ···~
         ..
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Bill Messenger

From:                             Amber Walker <amberdw@uci.edu >
Sent:                             Monday, April 5, 2021 3:33 PM
To:                               Rebecca Whalen
Subject:                          FW: Please Help (Last Email to the Union group)
Attachments:                      Incomplete Cancellation letter to Amber Walker 2-5-21.doc; Amber Walker Membership
                                  Form.pdf

Follow Up Flag:                   Follow up
Flag Status:                      Flagged




-----Original Message-----
From: Amber Walker
Sent: Wednesday, March 31, 2021 7:19 AM
To: Erich Wise <ewise@upt e-cwa.org>; Tom Godfrey <thomasmgodfrey@gmail.com>; Jonathan Elder
<jelder2@csu.fullerton.edu>; Grant Speich <grant.speich@gmail.com>; Juan Castillo <jcasti llo@upte-cwa.org>; Paul
Harris <pharris@upte-cwa.org>
Cc: amy@upte-cwa.org
Subject: Please Help

Hello All,

I'm begging someone to please help me with this situation stated below. I don't want to wait a whole year to start t his
process over when I sent what was asked of me per the initial agreement. In the initial agreement it only asks for me to
send in a letter stating that I want to leave the union. It did not ask for a picture of my ID or any of th e other "missing
items" . I sent this letter in JAN UARY, only to get a letter back in MARCH. The letter Amy says that was sent in February
was not sent to my current address, which I don't understand how thi s a fault of my own because my return address was
clearly on the letter I sent in JANUARY. I just don't underst and w hy the missing information needed of me couldn't have
been sent in a email so that I could send the information within the window. I fee l like the union continually fails me,
when I have been a faithful member paying dues every check.

Please Help!

Amber




-----Original Message-----
From: amy@ upte-cwa .org <amy@upte-cwa.org>
Sent: Tuesday, March 30, 2021 3:05 PM
To: Amber Walker <amberdw@uci.edu>
Subject: Fwd: Re: Fwd: Was My Request Accepted?

Hello Amber,
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We were not able to process your dues cancellation because the request you mailed was incomplete. You are no longer
a member of the union, but deductions will continue pursuant to the attached application you signed until we receive all
the necessary documentation during your next cancellation window.

I've also attached the letter that I mailed you on 2/5/21 that provides all the details for what we will need to process
your cancellation during your next window.

Thanks,

Amy

>>
»--------Original Message--------
» Subject: Was My Request Accepted?
» Date: 2021-03-30 09:50
» From: Amber Walker <amberdw@uci.edu>
» To: "amy@upte-cwa.org" <amy@upte-cwa.org>
>>
» Hi Amy,
>>
» I'm just wondering if my request was accepted to leave the union and
» how long does it take for deductions to stop from my pay check? I
» would greatly appreciate your help.
>>
» Thank you,
>>
» Amber Walker, B.S., RLAT
>>
» Laboratory Technician II
>>
» Transgenic Mouse Facility (TMF)
» UC Irvine
» Biological Sciences Ill
» Irvine, CA 92697
>>
» amberdw@uci.edu




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M
                     February 5, 2021


                     Amber Walker
CWA 9 11 9
AF L • CIO


UNIVERSITY
PROFESSIONAL
                     Dear Amber,
AND TECHNICAL
EMPLOYEES
                     UPTE-CWA received your request to cancel your membership and/or payroll
CWA Local 9119       deduction at our office. Your request was incomplete and cannot be processed at
AFL-CIO              this time .
•                    Included is a copy of your signed authorization form , which contains the specific
Representing         terms of your agreement with UPTE-CWA, including an annual cancellation period
employees at the     prior to your renewal date.
University of
California
                     Your renewal date is the anniversary of the date you signed the attached
                     authorization form . Your authorization will automatically renew unless your
•                    cancellation is postmarked within the period specified in the terms of your
P.O. Box 4443        agreement with UPTE-CWA.
Berkeley, CA 94704

PH: (510) 704-8783
                     You must include all necessary documentation to revoke your authorization in
FX: (510) 704-8065   accordance with these terms by sending UPTE-CWA a letter that includes the
info@upte-cwa.org    following :

•                       •   Full Name
www.upte.org            •   Signature
                        •   Address
                        •   Date of Request
                        •   Employee ID Number
                        •   Copy of photo identification (this could be a driver's license, state ID card,
                            passport, employee ID badge)

                     This information should be mailed to UPTE-CWA at: PO Box 4443, Berkeley, CA
                     94704.

                     As a member run organization, we would hope you would consider the benefits of
                     union membership. It is together that wins us strong contracts , safe workplaces
                     and good wages. Without strong membership, our employers will not see us as a
                     force to be dealt with and we will lose power in the workplace and at the
                     bargaining table.

                     You may contact us at 1-833-4MY-UPTE if you have questions.

                     Regards,

                     UPTE-CWA
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  UPTE STRONG! Affirm your commitment to outstanding UC jobs.
  UPTE-CWA members have won excellent raises and preserved superb benefits and pensions.
  But now UC executives and anti-union politicians are seeking to erode our pay and benefits.
                                                                                                                                                                  CWA911 9
  All current and not-yet-members of UPTE need to sign this membership affirmation to preserve
                                                                                                                                                                  AF L • CIO
  our achievements.
  Your position at UC is covered by an UPTE-CWA union contract. The contract determines your pay, benefits, and
  working conditions. Dues are the same for everyone and set uniformly by UPTE.

    CAMPUS
    0 Berkeley              O Santa Cruz       0 San Francisco                           0Davis                  O Santa Ba rbara               QMerced
    0LBNL                   OUCOP              0 Riverside                               ® Irvine                0 Los Angeles                  0San Diego

      Amber Walker
      NAME



      HOME ADDRESS

       Norwalk, CA 90650                                                                            Hewitt Hall
     CITY/STATE/ZIP                                                                                 WORK LOCATION (BUILDING/ROOM/CA
                                                                                                                                  - US P

      Juan Castillo                                                                                 ~@uci.edu
     NAME OF PERSON WHO ASKED ME TO JOIN (if applicable)                                            EMAIL                       CELL PHONE/TEXT Q   Aease do not text me




  MEMBERSHIP APPLICATION
  Authorization: I apply to become a member of UPTE. I enter into this agreement in return for the privileges of UPTE membership and the
  long-tenn benefit of union representation. I direct UC to deduct membership dues from my monthly pay, and to transfer that money to UPTE.
  I can end my membership by following instructions in my union contract (found at www.upte-cwa.org), or as otherwise allowed by law. I un-
  derstand that both union members and nonmembers benefit from representation and should contribute. If I resign or have resigned my union
  membership and the law no longer requires nonmembers to pay a fair share fee, I nevertheless agree voluntarily to contribute my fair share
  by paying a service fee in an amount equal to dues. I direct UC to deduct this service fee from my monthly pay and to transfer that money to
  UPTE. I understand that this voluntary service fee authorization shall renew each year on the anniversary of the date I sign below, unless I
  mail a signed revocation letter to UPTE's central office, postmarked between 75 days and 45 days before such annual renewal date.

,~          .... ,..                                                                                             11 Mar 19, 2018
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  POLITICAL ACTION FUND (PAF) AUTHORIZATION
  Authorization: As public employees, we require a strong voice and resources to impact the government that funds us and passes
  laws that affect us. We do not use union dues or fees for elections. Instead, we need contributions from members like you to protect and
  improve our jobs and working conditions. Any contribution you make is voluntary and will go to the Communications Workers of America-
  COPE Political Contributions Committee for the purpose of making contribution in federal elections to protect and advance the interests of
  working people, including UPTE members and their families. Your contribution is separate from your union dues and is not a condition of
  membership. No favor or disadvantage will result from contributing or refusing to do so, and you are free to contribute more or less than the
  suggested amounts. Additionally, to comply with federal law, we must use our best efforts to collect and report the name, mailing address,
  occupation and name of employer for individuals whose contributions exceed $200 per election cycle. Contributions or gifts to the CWA-
  COPE PCC are not tax deductible as charitable contributions.
 Yes, I want to contribute the following amount to CWP\s PAF: Q$10 per monthQ$20 per monthQ$40 per monthQ$_ per month
                                                                               @I don't want to contribute to PAF at this time.

I.-M
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SIGNATURE                                                                                                            DATE
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